      Case 3:99-cr-00010 Document 718 Filed on 03/06/06 in TXSD Page 1 of 2


                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE SOUTHERN DISTRICT OF TEXAS

                                   GALVESTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CRIMINAL NO. G-99-10 (13)
                                                §   CIVIL ACTION NO. G-03-078
DEMETRIOUS SANDFORD                             §

                                   ORDER OF DISMISSAL

       On January 25, 2006, the United States Magistrate Judge issued his Report and

Recommendation which recommended that the “ Motion Under 28 U. S.C. § 2255 to Vacate, Set

Aside or Correct Sentence By a Person in Federal Custody" filed by Demetrious Sandford be

summarily dismissed. The Magistrate Judge gave Sandford until March 3, 2006, to file any

objections to the Report and Recommendation. In lieu of objections, Sandford filed, on March

2, 2006, a “ Motion to Withdraw 28 U. S.C. § 2255.”

       Rule 12 of the Rules Governing Section 2255 Proceedings for the United States District

Courts provides that the Federal Rules of Civil Procedure apply to § 2255 Motions unless

preempted by those rules or a federal statute. Consequently, Rule 41(a) of the Federal Rules of

Civil Procedure, which permits a Plaintiff to voluntarily dismiss a civil action under the present

circumstances, is applicable.

       It is, therefore, ORDERED that Sandford’ s “ Motion to Withdraw 28 U. S.C. § 2255”

(Instrument no. 717) is GRANTED and his “ Motion Under 28 U. S.C. § 2255 to Vacate, Set

Aside or Correct Sentence By a Person in Federal Custody" (Instrument no. 510) is DISMISSED

without prejudice.
Case 3:99-cr-00010 Document 718 Filed on 03/06/06 in TXSD Page 2 of 2


 DONE at Galveston, Texas, this 6th day of March, 2006.




                                      2
